§
Case 2:05-cv-02294-BBD-dkv Document 19 Filed 07/05/05 Page 1 of 4 Page|D 7

MBY_(L‘{;/__ne

05 Jut -s Pn ¢.= 1,2
IN THE UNITED STATES DISTRICT COURT

FOR WESTERN DISTRICT oF TENNESSEE Wa§m§%
WESTERN DIvIsIoN W OF a m

 

KELLAH M. ALLGOOD, et al.,

Plaintiffs, Case NO. 05-2294D

vs.
MERCK & COMPANY, INC., et al.,

Defendants.

 

ORDER ADMINISTRATIVELY CLOSING CASE

 

It appears to the court that this matter has been conditionally transferred to the MDL panel
as part of MDL- l 657. ln the interest of j udicial economy, this court Will defer to the transferee court
to decide pending motions. This court, therefore, will administratively close the above-captioned
case pursuant to its inherent powers as it appears that no further case administration is warranted at
this time.

It is expressly emphasized that an order administratively closing a case is purely an
administrative device for the convenience of the court and in nowise affects the substantive and/or
procedural rights of the parties in interest to proceed before this court at a later date. To
administratively close a case merely means to close a case for statistical purposes in the office of the

District Court Clerk and the Administrative Office of the United States Courts.

Th:'s document entered on the docket sheet ln compliance
with Hu|e 58 and/or 79(a} FHCP on " f

Case 2:05-cv-02294-BBD-dkv Document 19 Filed 07/05/05 Page 2 of 4 Page|D 8

It also is expressly emphasized that an administratively closed case can be easily reopened
by a simple order of the court Without the necessity of a reopening filing fee should the case require
further administration Upon its reopening, the case then becomes, ipso facto, a statistically active
case and resumes the same status it had before the administrative closing without prejudice to the
rights of any party in interest. Accordingly,

IT IS ORDERED AND NOTICE IS HEREBY GIVEN THAT:

l. The Court Clerk is directed, consistent with the foregoing, to administratively close this
case in his records without prejudice to the substantive and/or procedural rights of any party in
interest to move at a later time to reopen the case for good cause, including the entry of any
stipulation or order, or for any other purpose required to obtain a final determination of pending
litigationl

2. ln the event a party in interest files a motion at a later time seeking to reopen this
administratively closed case, no reopening filing fee shall be required.

3. The Clerk is expressly directed to docket any order of dismissal immediately upon receipt.

IT Is so oRDERED this ,5 *"" day or §§qu .2005.

    

D STATES DISTR_ICT IUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 2:05-CV-02294 Was distributed by faX, mail, or direct printing on
July 11, 2005 to the parties listed.

 

Joseph R. Alexander
Mithoff & lacks

One Allen Center Penthouse
500 Dallas

Houston, TX 77002

J ames L. Wright

JACKS LAW FIRM

111 Congress Ave. Ste. 1010
Austin7 TX 78701

Richard Warren Mithoff
MITHOFF & JACKS7 P.C.
One Allen Center Penthouse
500 Dallas

Houston, TX 77002

Steven G. Ohrvall

H[LL BOREN- Jackson
1269 N. Highland Ave.
P.O. Box 3539

Jackson7 TN 38303--353

Leland M. McNabb

MCNABB BRAGORGOS & BURGESS, PLLC
81 Monroe Ave.

SiXth Floor

1\/lemphis7 TN 38103--540

Jirnmy Moore

CIRCUIT COURT, 30TH .TUDICIAL DISTRICT
140 Adams Ave.

Rm. 224

1\/lemphis7 TN 38103

Case 2:05-cv-02294-BBD-dkv Document 19 Filed 07/05/05 Page 4 of 4

Pam Warnock Green

MCNABB BRAGORGOS & BURGESS, PLLC
81 Monroe Ave.

SiXth Floor

1\/lemphis7 TN 38103--540

Mark Guerrero
Mithoff & lacks7 P.C.
11 1 Congress Avenue
Suite 1 0 1 0

Austin7 TX 78701

T. Robert Hill

H[LL BOREN

1269 N. Highland Ave.
Jackson7 TN 38303--053

Alyson Bustamante

BUTLER SNOW O'MARA STEVENS & CANNADA, PLLC
6075 Poplar Ave.

Ste. 500

1\/lemphis7 TN 38119

Tomrny lacks
Mithoff & lacks

11 1 Congress Avenue
Suite 1 0 1 0

Austin7 TX 78701

Charles C. Harrell

BUTLER SNOW O'MARA STEVENS & CANADA, PLLC
6075 Poplar Ave.

Ste. 500

1\/lemphis7 TN 38119

Lisa M. Martin

BUTLER SNOW O'MARA STEVENS & CANADA, PLLC
6075 Poplar Ave.

Ste. 500

1\/lemphis7 TN 38119

Honorable Bernice Donald
US DISTRICT COURT

Page|D 10

